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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION

NICHOLE VARNER,

PLAINTIFF,
Vv,

Case No.

CAPITAL ONE BANK,

DEFENDANT.

/

 

 

NOTICE OF REMOVAL

 

Pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446, Defendant identified in the
Complaint as Capital One Bank, properly known as Capital One Bank (USA), N.A.
(Capital One), gives notice of the removal of this action from the Circuit Court for Polk
County, Florida, to the United States District Court for the Middle District of Florida,
Tampa Division, stating as follows:

I. INTRODUCTION

1, On April 18, 2018, Plaintiff Nichole Varner commenced this action by
filing a Complaint in the Circuit Court for Polk County, Florida, Case Number 2018CA-
001322. A true and correct copy of all pleadings, process, and orders served on Capital
One is attached to this Notice of Removal as Exhibit 1.

2, In the Complaint, Plaintiff alleges that Capital One placed telephone calls

to Plaintiff's cellular telephone in attempt to collect amounts owed on a Capital One

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account. (Complaint, {] 12, 17). Specifically, the Complaint alleges Capital One made
calls to Plaintiff's cellular telephone using an automatic telephone dialing system after
Plaintiff's “express revocation” for Capital One to make such calls. (Complaint, § 25). As
a result of this purported conduct, Plaintiff brings claims against Capital One for
violations of the Florida Consumer Collection Practices Act (FCCPA), 559.55, ef seq.
and the Telephone Consumer Protection Act (TCPA), 47 U.S.C. § 227 et seq. (See
generally Complaint, Count I; Count IT; Count II1).!

3. Capital One received a copy of the Summons and Complaint on April 25,
2018. Accordingly, this Notice of Removal is timely under 28 U.S.C. § 1446.

4, This Court has federal question jurisdiction over this matter pursuant to 28
U.S.C. §§ 1331, 1367; 1441 and 1446 because the lawsuit places at issue claims arising
under a law of the United States.

II. FEDERAL JURISDICTION
A. Federal Question Jurisdiction Exists Over This Action.

5, This action may be removed pursuant to 28 U.S.C. § 1441(a) because the
Court has original jurisdiction under 28 U.S.C. § 1331.

6. Specifically, federal district courts have "original jurisdiction of all civil
actions arising under the Constitution, laws, or treatises of the United States." 28 U.S.C. §
1331. Removal based on "federal-question jurisdiction is governed by the ‘well-pleaded

complaint rule,' which provides that federal jurisdiction exists [] when a federal question

 

' Nothing in this Notice of Removal should be in any way construed as an admission by
Capital One that Plaintiff's claims have any merit whatsoever. Capital One denies that Plaintiff is
entitled to any judgment, damages, relief, and/or award and demands strict proof thereof.

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is presented on the face of the plaintiff's properly pleaded complaint." Caterpillar Inc. v.
Williams, 482 U.S. 386, 392, 107 S. Ct. 2425, 2429, 96 L. Ed. 2d 318 (1987) (alteration
added).

7. Plaintiffs Complaint purports to assert a claim for violation of the
Telephone Consumer Protection Act (TCPA), 47 U.S.C. § 227 et seg. (See Complaint,
Count IIT).

8. The United States Supreme Court has held that TCPA claims give rise to
federal question jurisdiction. See Mims v. Arrow Financial Services, LLC, 565 U.S. 368,
132 S.Ct. 740, 745, 181 L.E.2d 881 (2012); see also Balthazar v. Central Credit Services,
Ine., 475 Fed. Appx. 716, 717 (11th Cir. 2012).

9. Because Plaintiff asserts a claim arising under, and for alleged violations
of, federal law, this Court has federal question jurisdiction over these claims pursuant to
28 U.S.C. §§ 1331 and 1441 (a).

B. Supplemental Jurisdiction Exists Over Plaintiff's Remaining Claims.

10... This Court should exercise supplemental jurisdiction over Plaintiff's
FCCPA claims because these claims form part of the same case or controversy as
Plaintiff's TCPA claim. See generally Complaint; see also Spears v. North American
Holdings, LLC, Case No. 8:16-cv-392-MSS-TBM, 2016 WL 8999462, at *2 (M.D. Fla.
Aug. 31, 2016).

11. The supplemental jurisdiction statute, 28 U.S.C. § 1367(a), provides in

pertinent part as follows:

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[Ijn any civil action of which the district courts have original jurisdiction,
the district courts shall have supplemental jurisdiction over all other claims
that are so related to claims in the action within such original jurisdiction
that they form part of the same case or controversy ....

28 U.S.C. § 1367(a).

12. Plaintiffs FCCPA claims are related to the same alleged activity that forms
the basis for Plaintiff's TCPA claim, i.e., alleged telephone calls made in connection with
the collection of Plaintiff's account. (Complaint, {J 35, 41). See also 28 U.S.C. § 1367.

13. Capital One expressly consents to this Court's jurisdiction over Plaintiffs
FCCPA claim.

14. Accordingly, this claim is related to Plaintiffs federal question claim, and
thereby form a part of the same case and controversy pursuant to 28 U.S.C. § 1367(a).

IIL. PROCEDURAL REQUIREMENTS

15. No prior application has been made for the relief requested herein.

16. The United States District Court for Middle District of Florida, Tampa
Division, embraces the place where this action was pending in State Court.

17, Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being
served upon counsel for Plaintiff, and a copy of this Notice of Removal, along with a
Notice of Filing Notice of Removal, will be filed with the Clerk of the Circuit Court for
Polk County, Florida.

18. All prerequisites for removal, as set forth in 28 U.S.C. § 1441, have been

met.

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19. True and correct copies of all process, pleadings and orders served on
Capital One are attached as Exhibit 1. See 28 U.S.C. § 1446(a).

20. Pursuant to Local Rule 4.02(b), true and correct copies of all process,
pleadings, orders and other papers or exhibits of every kind, including depositions on file
in the state court file are attached as Exhibit 2.

21. Nothing in this Notice of Removal shall be interpreted as substantially
invoking the litigation process or as a waiver or relinquishment of Capital One's right to
assert any defense or affirmative matter, including, but not limited to, the defenses of: (1)
lack of jurisdiction over the person; (2) insufficiency of process; (3) insufficiency of
service of process; (4) improper joinder of claims and/or parties; (5) failure to state a
claim; (6) the mandatory arbitrability of some or all of the claims; (7) failure to join
indispensable parties; or (8) any other pertinent defense available under Fla. R. Civ. P.
1.110 and 1.140 or Fed. R. Civ. P. 8 and 12, any state or federal statute, or otherwise.

22. To the extent remand is sought by Plaintiff or otherwise visited by this
Court, Capital One requests the opportunity to brief the issues and submit additional
arguments and evidence, to be heard at oral argument.

WHEREFORE, Defendant prays that this Court take jurisdiction of this action and
issue all necessary orders and process to remove this action from the Circuit Court for
Polk County, Florida, to the United States District Court for the Middle District of

Florida, Tampa Division.

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Dated: May 24, 2018

Respectfully Submitted,

Megan P. oR Bar No. 0092557)
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CERTIFICATE OF SERVICE

™
I hereby certify that on this the?4 day of May, 2018, a copy of the foregoing has
been sent to counsel by U.S. Mail, postage prepaid, and electronic mail.

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